Case 2:05-cr-20143-BBD Document 39 Filed 09/02/05 Page 1 of 2 Page|D 44

 

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w s
P|aintiff
vs.
cR. No. 05-20143-0
rvnsTY BoNos,

BRYANT EDWARDS

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PERIOD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on August 25, 2005. At that time, counsel for
the defendant requested a continuance of the September 6, 2005 trial date in order to
allow for additional preparation in the case.

The Court granted the request and reset the trial date to November 7, 2005 with a
Eport date of Ttwgav. QL)LM 27. 2005. at__9:_00 a.m.. in Courtroom 3. ch Floor of
the Federa| Building, Nlemphis, TN.

The period from September 16, 2005 through November 18, 2005 is excludable
under 18 U.S.C. § 3161(h)(8)(B)(iv) because the ends ofjustice served in allowing for
additional time to prepare outweigh the need for a speedy tria|.

rr ls so oRoEREo thisg,,; day of september, 2005.

RN|CE B. D NALD
UN|TED STATES DISTR|CT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 39 in
case 2:05-CR-20143 Was distributed by faX, mail, or direct printing on
September 9, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

